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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN



Monika Roots, M.D.,

              Plaintiff and Counterclaim                  Case No.: 19-cv-567
              Defendant,

       vs.                                            MOTION TO DISMISS
Teladoc Health, Inc.,                            COUNTERCLAIMS PURSUANT TO
                                                    FEDERAL RULE OF CIVIL
              Defendant and Counterclaim              PROCEDURE 12(B)(6)
              Plaintiff.




       Counterclaim Defendant Dr. Monika Roots, by and through her undersigned

attorneys, Dorsey & Whitney LLP, respectfully moves for dismissal of Defendant

Teladoc Health, Inc.’s Counterclaims pursuant to Federal Rule of Civil Procedure

12(b)(6) for failure to state a claim upon which relief can be granted.

      The motion is based on the Counterclaim Defendants’ memorandum of law and

accompanying exhibit and declaration, as well as all other exhibits, files, records, and

proceedings in this matter.



Dated: October 4, 2019                     DORSEY & WHITNEY LLP

                                           By __s/ Thomas Swigert_________
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